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   1   Evan R. Chesler (N.Y. Bar No. 1475722; pro hac vice)
       echesler@cravath.com
   2   CRAVATH, SWAINE & MOORE LLP
       825 Eighth Avenue
   3   New York, NY 10019
       Telephone: (212) 474-1000
   4   Facsimile: (212) 474-3700
   5   David A. Nelson (Ill. Bar No. 6209623; pro hac vice)
       davenelson@quinnemanuel.com
   6   QUINN EMANUEL URQUHART & SULLIVAN, LLP
       500 West Madison St., Suite 2450
   7   Chicago, Illinois 60661
       Telephone: (312) 705-7400
   8   Facsimile: (312) 705-7401
   9   Karen P. Hewitt (SBN 145309)
       kphewitt@jonesday.com
  10   Randall E. Kay (SBN 149369)
       rekay@jonesday.com
  11   JONES DAY
       4655 Executive Drive, Suite 1500
  12   San Diego, California 92121
       Telephone: (858) 314-1200
  13   Facsimile: (844) 345-3178
  14   [Additional counsel identified on signature page]
  15   Attorneys for
       QUALCOMM INCORPORATED
  16
                           UNITED STATES DISTRICT COURT
  17
                         SOUTHERN DISTRICT OF CALIFORNIA
  18
  19                                          Case No. 3:17-CV-00108-GPC-MDD
       IN RE:
  20                                          JOINT MOTION FOR
       QUALCOMM LITIGATION                    APPROVAL OF STIPULATION
  21                                          REGARDING DEPOSITION OF
                                              APPLE CEO TIM COOK
  22
                                              Magistrate Judge:
  23                                          Hon. Mitchell D. Dembin
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                                                   CASE NO. 3:17-CV-00108-GPC-MDD
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   1         Qualcomm Incorporated (“Qualcomm”), Apple Inc. (“Apple”) and Compal
   2    Electronics, Inc., FIH Mobile Ltd., Hon Hai Precision Industry Co., Ltd., Pegatron
   3    Corporation and Wistron Corporation (collectively, “the CMs”), by and through
   4    their respective counsel, hereby jointly move for an order approving the following
   5    stipulation:
   6                                      STIPULATION
   7         WHEREAS, Mr. Tim Cook is the Chief Executive Officer of Plaintiff Apple;
   8          WHEREAS, Qualcomm requested the deposition of Mr. Cook in the above-
   9   captioned action (the “Action”);
  10          WHEREAS, Qualcomm and Apple attempted to schedule Mr. Cook’s
  11   deposition on a date prior to May 11, 2018, the close of fact discovery in the
  12   Action;
  13          WHEREAS, Qualcomm and Apple were unable to find a mutually
  14   convenient deposition date during that period when Mr. Cook, Apple, and
  15   Qualcomm are all available;
  16          WHEREAS, the Parties to this Action have agreed to conduct Mr. Cook’s
  17   deposition on June 27, 2018;
  18          WHEREAS, the Parties agree that conducting Mr. Cook’s deposition on
  19   June 27, 2018 will not otherwise affect any deadlines ordered by the Court in this
  20   Action.
  21          NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by
  22   and between the undersigned counsel:
  23          The deposition of Mr. Tim Cook shall be conducted on June 27, 2018.
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   1
        Dated: April 4, 2018       Respectfully Submitted
   2
                                   By: /s/ Evan R. Chesler
   3
   4                                  CRAVATH, SWAINE & MOORE LLP
                                      Evan R. Chesler (pro hac vice)
   5                                  (N.Y. Bar No. 1475722)
   6                                  echesler@cravath.com
                                      Keith R. Hummel (pro hac vice)
   7                                  (N.Y. Bar No. 2430668)
   8                                  khummel@cravath.com
                                      Richard J. Stark (pro hac vice)
   9                                  (N.Y. Bar No. 2472603)
  10                                  rstark@cravath.com
                                      Antony L. Ryan (pro hac vice)
  11                                  (N.Y. Bar No. 2784817)
  12                                  aryan@cravath.com
                                      Gary A. Bornstein (pro hac vice)
  13                                  (N.Y. Bar No. 2916815)
  14                                  gbornstein@cravath.com
                                      J. Wesley Earnhardt (pro hac vice)
  15                                  (N.Y. Bar No. 4331609)
  16                                  wearnhardt@cravath.com
                                      Yonatan Even (pro hac vice)
  17                                  (N.Y. Bar No. 4339651)
  18                                  yeven@cravath.com
                                      Vanessa A. Lavely (pro hac vice)
  19                                  (N.Y. Bar No. 4867412)
  20                                  vlavely@cravath.com
                                      Worldwide Plaza, 825 Eighth Avenue
  21                                  New York, New York 10019
  22                                  Telephone: (212) 474-1000
                                      Facsimile: (212) 474-3700
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   1                                   QUINN EMANUEL URQUHART &
   2                                   SULLIVAN, LLP
                                       David A. Nelson (pro hac vice)
   3                                   (Ill. Bar No. 6209623)
   4                                   davenelson@quinnemanuel.com
                                       Stephen Swedlow (pro hac vice)
   5                                   (Ill. Bar No. 6234550)
   6                                   stephenswedlow@quinnemanuel.com
                                       500 West Madison St., Suite 2450
   7                                   Chicago, Illinois 60661
   8                                   Telephone: (312) 705-7400
                                       Facsimile: (312) 705-7401
   9
  10                                   Alexander Rudis (pro hac vice)
                                       (N.Y. Bar No. 4232591)
  11                                   alexanderrudis@quinnemanuel.com
  12                                   51 Madison Ave., 22nd Floor
                                       New York, New York 10010
  13                                   Telephone: (212) 849-7000
  14                                   Facsimile: (212) 849-7100

  15                                   Sean S. Pak (SBN 219032)
  16                                   seanpak@quinnemanuel.com
                                       50 California St., 22nd Floor
  17                                   San Francisco, California 94111
  18                                   Telephone: (415) 875-6600
                                       Facsimile: (415) 875-6700
  19
  20                                   JONES DAY
                                       Karen P. Hewitt (SBN 145309)
  21                                   kphewitt@jonesday.com
  22                                   4655 Executive Drive, Suite 1500 San Diego,
                                       California 92121
  23                                   Telephone: (858) 314-1200
  24                                   Facsimile: (858) 345-3178
  25                               Attorneys for Defendant and Counterclaim-Plaintiff
  26                               QUALCOMM INCORPORATED
  27
  28
                                            3
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   1                               By:     /s/ Edward H. Takashima
   2
                                         Juanita R. Brooks, SBN 75934, brooks@fr.com
   3                                     Seth M. Sproul, SBN 217711, sproul@fr.com
   4                                     Fish & Richardson P.C.
                                         12390 El Camino Real
   5                                     San Diego, CA 92130
   6                                     Phone: 858-678-5070 / Fax: 858-678-5099

   7                                     Ruffin B. Cordell, DC Bar No. 445801,
   8                                     pro hac vice, cordell@fr.com
                                         Lauren A. Degnan, DC Bar No. 452421,
   9                                     pro hac vice, degnan@fr.com & Richardson P.C.
  10                                     The McPherson Building
                                         901 15th Street, N.W., 7th Floor
  11                                     Washington, D.C. 20005
  12                                     Phone: 202-783-5070 / Fax: 202-783-2331

  13                                     Aamir Kazi, GA Bar No. 104235
  14                                     pro hac vice, kazi@fr.com
                                         Fish & Richardson P.C.
  15                                     1180 Peachtree St. NE, 21st floor
  16                                     Atlanta, GA 30309
                                         Phone: 404-892-5005 / Fax: 404-892-5002
  17
  18                                     William A. Isaacson, DC Bar No. 414788,
                                         pro hac vice, wisaacson@bsfllp.com
  19                                     Karen L. Dunn, DC Bar No. 1002520,
  20                                     pro hac vice, kdunn@bsfllp.com
                                         BOIES SCHILLER FLEXNER LLP
  21                                     1401 New York Avenue, N.W.
  22                                     Washington, DC 20005
                                         Phone: 202-237-2727 / Fax: 202-237-6131
  23
  24                                     Steven C. Holtzman, SBN 144177,
                                         sholtzman@bsfllp.com
  25                                     Gabriel R. Schlabach, SBN 304859,
  26                                     gschlabach@bsfllp.com
                                         BOIES SCHILLER FLEXNER LLP
  27                                     1999 Harrison Street, Suite 900
  28                                     Oakland, CA 94612
                                              4
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   1                                   Phone: 510-874-1000 / Fax: 510-874-1460
   2
                                       Edward H. Takashima, SBN 270945 ,
   3                                   etakashima@bsfllp.com
   4                                   BOIES SCHILLER FLEXNER LLP
                                       401 Wilshire Boulevard, Suite 850
   5                                   Santa Monica, California 90401
   6                                   Phone: 310-752-2408 / Fax: 310-752-2490

   7                               Attorneys for Plaintiff and Counterclaim-Defendant
   8                               Apple Inc.
   9
  10
                                   By: /s/ Jennifer J. Rho
  11
  12                                  THEODORE J. BOUTROUS JR. (SBN 132099)
                                      tboutrous@gibsondunn.com
  13                                  DANIEL G. SWANSON (SBN 116556)
  14                                  dswanson@gibsondunn.com
                                      JASON C. LO (SBN 219030)
  15                                  jlo@gibsondunn.com
  16                                  JENNIFER J. RHO (SBN 254312)
                                      jrho@gibsondunn.com
  17                                  MELISSA PHAN (SBN 266880)
  18                                  mphan@gibsondunn.com
                                      GIBSON, DUNN & CRUTCHER LLP
  19                                  333 South Grand Avenue
  20                                  Los Angeles, CA 90071
                                      Tel: (213) 229-7000 / Fax: (213) 229-7520
  21
  22                                  CYNTHIA E. RICHMAN (DC Bar No. 492089;
                                      Pro Hac Vice)
  23                                  crichman@gibsondunn.com
  24                                  GIBSON, DUNN & CRUTCHER LLP
                                      1050 Connecticut Avenue, N.W.
  25                                  Washington, DC 20036
  26                                  Tel: (202) 955-8500 / Fax: (202) 467-0539
  27                                  HUGH F. BANGASSER (pro hac vice)
  28                                  hugh.bangasser@klgates.com
                                            5
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   1                                  CHRISTOPHER M. WYANT (pro hac vice)
   2                                  chris.wyant@klgates.com
                                      J. TIMOTHY HOBBS (pro hac vice)
   3                                  tim.hobbs@klgates.com
   4                                  K&L GATES LLP
                                      925 Fourth Avenue, Suite 2900
   5                                  Seattle, Washington 98104
   6                                  Tel: 206-623-7580 / Fax: 206-370-6371

   7                               Attorneys for Defendants, Counterclaimants,
   8                               and Third-Party Plaintiffs Compal Electronics,
                                   Inc., FIH Mobile Ltd., Hon Hai Precision
   9                               Industry Co., Ltd., Pegatron Corporation, and
  10                               Wistron Corporation
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   1                                  FILER’S ATTESTATION

   2         Pursuant to Section 2(f)(4) of the Electronic Case Filing Administrative
   3   Policies and Procedures of the United States District Court of the Southern District
   4   of California, I certify that authorization for the filing of this document has been
   5   obtained from each of the other signatories shown above and that all signatories
   6   have authorized placement of their electronic signature on this document.
   7
   8                                  By: /s/ Evan R. Chesler
   9                                       Evan R. Chesler

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   1                             CERTIFICATE OF SERVICE
   2         The undersigned hereby certifies that a true and correct copy of the above
   3   and foregoing document has been served on April 4, 2018 to all counsel of record
   4   who are deemed to have consented to electronic service via the Court’s CM/ECF
   5   system per Civil Local Rule 5.4. Any other counsel of record will be served by
   6   electronic mail, facsimile and/or overnight delivery.
   7         Executed on April 4, 2018 at San Diego, California.
   8
   9                                  By: /s/ Evan R. Chesler
  10                                       Evan R. Chesler

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